       Case: 1:15-cr-00515 Document #: 724 Filed: 08/09/21 Page 1 of 3 PageID #:8218
                                                                                                           spl
Albert Ro1sini
                                                                                 FITED
#08043-424
Metropolitan Correctional Center
                                                                                     AUG 0   gz1;u   r,/
7l W. Van Buren St.                                                            cLEil{?,KB8rH8IBBr^,
Chicago, IL 60605

August 2,2021


Hon. John Z.Lee
District Court Judge
U.S. District Court
219 S. Dearborn St.
Chicago, IL 60604

                                              Re: U.S. v. Rossini, l5 CR 515-1

Dear Judge Lee:

   This letter seeks to draw your Honor's attention to the notice, production, and review of trial
transcripts to be affiorded a Defendant.

    It is understood that the Court may rely on evidence from a co-defendant's trial, but the judge must
first wam the defendant and provide him the opportunity to review the trial transcript in order to
respond. See U.S. v. Are, 590 F.3d 499,524 (7 Cir. 2009). In U.S. v. Miller,450 F.3d 270,273 (7 Cir.
2006)[ovemrled in part by Kimbrough v. U.S. 552 U.S. 85 (2007)], the judge relied on testimony given
in another case that linked the defendant to a murder. Upholding the use of this evidence, the Miller
court noted that testimony at a trial that was subject to cross-examination is among the most reliable
forms of hearsay and that the defendant could have called a witness to rebut the evidence if he chose.

    Here, separate trials were held for Defendant Rossini and his co-defendants. He was denied the right
to call witnesses or to cross-examine witnesses in the Babajan and Anthony Khoshabe trial.

    The Court has a duty, prior to sentencing, to inform the undersigned Albert Rossini, whether the
Court intends to include testimony or evidence presented in the Khoshabe trial, and whether the Court
intends to rely on same in its determination of his sentence.

   Further, the Court has the obligation to provide Defendant Rossini with the transcripts and exhibits
from the Khoshabe trial and allow time within which to prepare his sentencing defenses.

   Since the Defendant has been held in indeterminate detention at the Chicago MCC before and
during the COVID epidemic, during which there have been serial institution lockdowns, limited
recourse to a typewriter and law library and negligible opportunity to prepare his case, Defendant
Rossini should be provided the requested transcripts and time within which to review.

                                                     Respectfully submitted,
                                                     Albert Rossini
                                                     Albert Rossini
cr-00515 Document #: 724 Filed: 08/09/21 Page
                                        -
                                              *ssF
                                          o 2 of 3 Pag
                                                     I

                                        ao F$E$                      i

                                        7     *i#
                                       6\ ro'e+9
                                                                     i

                                                                     I


                                       I-o
                                       \A
                                               * 7
                                              z-I                    {


                         l..to




              i:939S
            4;AEFx
               t/-!',
             F T Y,qZ
               {e90
             8'i sr Ei                               o
             Sgs"
              .E                             bA
                                             CI!n
                     Z
                     O
                                             hJ1
                                             oxi
                                             hJrn
                     6                       !'r1;
                                                      a:

                                             "d      i.{


                                             HS
                                             l':     t''&

                                            Herry Moreter   e




                                                                II
                                                                t
cr-00515 Document #: 724 Filed: 08/09/21 Page 3 of 3 Pag




                            4   N
                                NI


                                N
                                o
                                N
                            -   O)
                                o
                                @
                                o
